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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

HARKISHAN PAREKH, LAURA                       )
WOOD, and PEORIA POLICE                       )
PENSION FUND, derivatively,                   )
on behalf of Centene Corporation,             )
                                              )
             Plaintiffs,                      )
                                              )
      v.                                      )      No. 4:18 CV 113 CDP
                                              )
MICHAEL F. NEIDORFF, et al.,                  )
                                              )
             Defendants,                      )
                                              )
and                                           )
                                              )
CENTENE CORPORATION,                          )
                                              )
             Nominal Defendant.               )

                           MEMORANDUM AND ORDER

      Upon consideration of the parties’ non-opposing positions on movants

Carpenters Pension Fund of Illinois and Iron Workers Local 11 Pension Fund’s

motion to consolidate Carpenters Pension Fund of Illinois, et al. v. Neidorff, et al.,

Case No. 4:18CV2085 RLW, with this action, I agree that the matters should be

consolidated and will grant the motion. I have also considered the parties’

positions regarding movants’ request to amend the scheduling order regarding the

appointment of lead plaintiff and lead counsel in this case and conclude that

Carpenters Pension Fund of Illinois and Iron Workers Local 11 Pension Fund
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should be included in the ordered discussions and possible motion practice as set

out in my scheduling order entered December 13, 2018 (ECF 29). I will therefore

grant this request as well. I will extend the deadline by which all counsel are to

meet and confer from January 11 to January 16, but will not extend any other

deadline set out in that order.

      Accordingly,

      IT IS HEREBY ORDERED that Carpenters Pension Fund of Illinois and

Iron Workers Local 11 Pension Fund’s Motion to Consolidate and Amend

Scheduling Order [30] is granted in all respects.

      IT IS FURTHER ORDERED that Carpenters Pension Fund of Illinois, et

al. v. Neidorff, et al., Case No. 4:18CV2085 RLW, is consolidated into this action

for all purposes. All further filings shall be filed in Case No. 4:18CV113 CDP

only. The Clerk of Court is directed to administratively close Case No.

4:18CV2085 RLW after docketing a copy of this Order in that case.

      IT IS FURTHER ORDERED that the Order Setting Pleading and Motion

Schedule (ECF 29) is amended to specifically include and apply in all respects to

counsel for plaintiffs Carpenters Pension Fund of Illinois and Iron Workers Local

11 Pension Fund. Competing plaintiffs’ counsel are granted to January 16, 2019,

by which to meet and confer and attempt to resolve their competing claims to be

lead plaintiff and lead counsel. In all other respects, the schedule, conditions, and

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deadlines set out in the Order Setting Pleading and Motion Schedule remain in full

force and effect.




                                       ____________________________________
                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE


Dated this 9th day of January, 2019.




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